              Case 22-40356               Doc 2          Filed 03/22/22 Entered 03/22/22 15:19:36                             Desc Main
                                                           Document     Page 1 of 46
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Eastern
 ____________________             Texas
                      District of _________________
                                        (State)
                         22-40356
 Case number (If known): _________________________         11
                                                   Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Elkhorn Exploration Co.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   8 1      4 5 3 9 9 5 2
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                                  9013 Thompson Drive
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                  Argyle                      Texas 76226
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                  Denton
                                              ______________________________________________
                                              County                                                                  E Race Track Road
                                                                                                          _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                           Moroni                    Utah        84646
                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor         Elkhorn Exploration Co.
              _______________________________________________________                                                 22-40356
                                                                                               Case number (if known)_____________________________________
              Name




 6.   Type of debtor                        Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________

                                           A. Check one:
 7.   Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                           B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              2 ___
                                              ___ 1 ___
                                                     1 ___
                                                        1

 8.   Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                            Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                          affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                         recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                            11 U.S.C. § 1116(1)(B).
      check the second sub-box.                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                               Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return, or if
                                                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                               § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                            Chapter 12




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Debtor           Elkhorn Exploration Co.
                _______________________________________________________                                             22-40356
                                                                                             Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




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Debtor        Elkhorn Exploration Co.                                                        Case number(ifknown),_2_2_-4_0_3_5_6________
              Name




 13.   Debtor's estimation of            Check one:
       available funds                   □ Funds will be available for distribution to unsecured creditors.
                                         ■ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                         ■ 1-49                           □ 1,000-5,000                              □ 25,001-50,000
 14.   Estimated number of               □ 50-99                          □ 5,001-10,000                             □ 50,001-100,000
       creditors
                                         □ 100-199                        □ 10,001-25,000                            D More than 100,000
                                         □ 200-999
                                         □ $0-$50,000                     □ $1,000,001-$10 million                   □ $500,000,001-$1 billion
 1&. Estimated assets                    □ $50,001-$100,000               □ $10,000,001-$50 million                  D $1,000,000,001-$10 billion
                                         ■ $100,001-$500,000              □ $50,000,001-$100 million                 D $10,000,000,001-$50 billion
                                         □ $500,001-$1 million            □ $100,000,001-$500 million                D More than $50 bllllotl-- · --- ····- ···-

                                         □ $0-$50,000                     ■ $1,000,001-$10 million                   □ $500,000,001-$1 billion
 16. Estimated liabilities               □ $50,001-$100,000               □ $10,000,001-$50 million                  □ $1,000,000,001-$10 billion
                                         □ $100,001-$500,000              □ $50,000,001-$100 million                 □ $10,000,000,001-$50 billion
                                         □ $500,001-$1 million            □ $100,000,001-$500 million                □ More thai:i $50 �illi�n.:,, , �.1,: •. ,.,r::.

             Request for Relief, Declaration, and Signatures


 WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 11. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code; specified. in this
     authorized representative of
                                            petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.
                                                                                                                                             · ·1
                                                                                                                                                    !
                                                                                                                                    •


                                             I have examined the Information In this petition and have a reasonable belief that :the information is true and
                                             correct.




                                                                                                        Frank Brown




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page4
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Debtor        Elkhorn Exploration Co.                                                                             _ -_ 4_0_3_56_ ________
                                                                                       Case number(ifknown).'---2 2
             Nmno



 1a. Signature of attorney
                                                                                                 Date          Q3122/2Q22
                                                                                                               MM      /DD /YYYY



                                        Printed name
                                        Watson Brown
                                        Finn name
                                        9013 Thompson Drive
                                        Number         Street
                                        Argyle                                                         Texas
                                                                                                       ----  76226
                                        City                                                           State ZIP Code

                                        469-222-3200                                                    frank@adstexas.con
                                        Contact phone                                                  Email address


                                            03121050                                                   Texas
                                        Bar number                                                     State




 Official Form 201                      Voluntary Petition for Non-Individuals FIiing for Bankruptcy                               pages
                Case 22-40356                   Doc 2     Filed 03/22/22 Entered 03/22/22 15:19:36                                Desc Main
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  Fill in this information to identify the case:

              Elkhorn Exploration Co.
  Debtor name __________________________________________________________________

                                         Eastern
  United States Bankruptcy Court for the:_______________________             Texas
                                                                 District of ________
                                                                              (State)
  Case number (If known):      22-40356
                              _________________________                                                                                 Check if this is an
                                                                                                                                           amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                    12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of debtor’s
                                                                                                                                     interest

2. Cash on hand                                                                                                                     $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                 Type of account                 Last 4 digits of account number
   3.1. _________________________________________________ ______________________                ____ ____ ____ ____                 $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____                 $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                       $______________________
   4.2. _____________________________________________________________________________________________________                       $______________________

5. Total of Part 1                                                                                                                    0.00
                                                                                                                                    $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
   7.1. ________________________________________________________________________________________________________                     $______________________
   7.2._________________________________________________________________________________________________________                     $_______________________


  Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                                    page 1
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Debtor         Elkhorn Exploration Co.                      Document
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                                                                                   Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                   0.00
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                0.00
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4                                                                                                                0.00
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                page 2
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Debtor
                Elkhorn Exploration Co.
                l                                           Document
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                                                                                   Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last        Net book value of    Valuation method used     Current value of
                                                    physical inventory      debtor's interest    for current value         debtor’s interest
                                                                            (Where available)
19. Raw materials
   ________________________________________         ______________                                                        $______________________
                                                    MM / DD / YYYY
                                                                           $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                        $______________________
                                                    MM / DD / YYYY
                                                                           $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                        $______________________
                                                    MM / DD / YYYY
                                                                           $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                        $______________________
                                                    MM / DD / YYYY
                                                                           $__________________   ______________________


23. Total of Part 5                                                                                                         0.00
                                                                                                                          $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                   Net book value of    Valuation method used     Current value of debtor’s
                                                                            debtor's interest    for current value         interest
                                                                            (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________            $________________    ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________            $________________    ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________            $________________    ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________            $________________    ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________            $________________    ____________________    $______________________


Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                         page 3
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Debtor    Elkhorn Exploration Co                            Document     Page 9 of 46                      22-40356
                                                                                   Case number (if known)_____________________________________




33. Total of Part 6.
                                                                                                                             0.00
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________   ____________________     $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                              0.00
                                                                                                                            $______________________

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                           page 4
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 Debtor
                Elkhorn Exploration Co.                    Document
                _______________________________________________________ Page 10 of Case                   22-40356
                                                                                    46 number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                      Net book value of     Valuation method used    Current value of
                                                                            debtor's interest     for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                            (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________           $________________     ____________________   $______________________

   47.2___________________________________________________________           $________________     ____________________   $______________________

   47.3___________________________________________________________           $________________     ____________________   $______________________

   47.4___________________________________________________________           $________________     ____________________   $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________            $________________     ____________________   $______________________

   48.2__________________________________________________________            $________________     ____________________   $______________________

49. Aircraft and accessories

   49.1__________________________________________________________            $________________     ____________________   $______________________

   49.2__________________________________________________________            $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

    Three (3) 400 Bbl Water Tanks
   ______________________________________________________________
                                                                              18,000.00
                                                                             $________________
                                                                                                   Cost
                                                                                                   ____________________     18,000.00
                                                                                                                          $______________________


51. Total of Part 8.                                                                                                        18,000.00
                                                                                                                          $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                       page 5
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Debtor
                Elkhorn Exploration Co.                     Document
                _______________________________________________________  Page 11 of Case                 22-40356
                                                                                     46 number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
    55.1________________________________________            _________________     $_______________     ____________________     $_____________________

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                             0.00
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                             0.00
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
                Case 22-40356                   Doc 2     Filed 03/22/22 Entered 03/22/22 15:19:36 Desc Main
Debtor          Elkhorn Exploration Co.                    Document
                _______________________________________________________ Page 12 of Case                 22-40356
                                                                                    46 number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                     _______________     –   __________________________         =   $_____________________
    ______________________________________________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
    1200 ft 2-3/8 4.7# J-55 tubing $2.00/ft= $24,000.00
   ____________________________________________________________                                                                       24,000.00
                                                                                                                                     $_____________________
    20,000 ft of 5-1/2 11.6# P-110 csg $5.00/ft= $100,000.00
   ____________________________________________________________                                                                       100,000.00
                                                                                                                                     $_____________________

78. Total of Part 11.
                                                                                                                                       124,000.00
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
                  Case 22-40356                       Doc 2           Filed 03/22/22 Entered 03/22/22 15:19:36 Desc Main
Debtor
                   Elkhorn Exploration Co.                             Document
                  _______________________________________________________           Page 13 of Case                 22-40356
                                                                                                46 number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.
                                                                                                           0.00
                                                                                                         $_______________


81. Deposits and prepayments. Copy line 9, Part 2.
                                                                                                           0.00
                                                                                                         $_______________

                                                                                                           0.00
                                                                                                         $_______________
82. Accounts receivable. Copy line 12, Part 3.


83. Investments. Copy line 17, Part 4.
                                                                                                           0.00
                                                                                                         $_______________

                                                                                                           0.00
                                                                                                         $_______________
84. Inventory. Copy line 23, Part 5.
                                                                                                           0.00
                                                                                                         $_______________
85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.                                           0.00
                                                                                                         $_______________
     Copy line 43, Part 7.
                                                                                                           18,000.00
                                                                                                         $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

                                                                                                                                                  0.00
88. Real property. Copy line 56, Part 9. . .....................................................................................               $________________

                                                                                                           0.00
                                                                                                         $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                                        +     124,000.00
                                                                                                         $_______________


                                                                                                           142,000.00                             0
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            +   91b.
                                                                                                                                                $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................
                                                                                                                                                                      142,000.00
                                                                                                                                                                    $__________________




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                                page 8
                  Case 22-40356                     Doc 2        Filed 03/22/22 Entered 03/22/22 15:19:36                                    Desc Main
                                                                  Document     Page 14 of 46
  Fill in this information to identify the case:

               Elkhorn Exploration Co.
  Debtor name __________________________________________________________________
                                          Eastern
  United States Bankruptcy Court for the: ______________________             Texas
                                                                 District of _________
                                                                                        (State)
                                22-40356
  Case number (If known):      _________________________
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing
  Official Form 206D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
  Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                             Describe debtor’s property that is subject to a lien
     See  Annex  II and III
     __________________________________________
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________

     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                   5,339,820.91
                                                                                                                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                        1
                                                                                                                                                           page 1 of ___
FORM 206D                     Case 22-40356        Doc 2    Filed 03/22/22      Entered 03/22/22 15:19:36        Desc Main
Schedule D                                              ELKHORN   EXPLORATION
                                                           Document  Page 15 of 46 CO.
Annex II                                                 List of Secured Creditors
Claimant                                         Lien Amount    Address                                                       Phone
B & C Quick Test, Inc.                       $      29,345.00   2460 N. 500 E., Vernal, UT 84078                           435-789-8159
Basin Fluids, LLC                            $     508,825.93   4317 E. Utah Pl., Denver, CO 80222                         303-501-7836
Basin Well Logging Wireline Services, Inc.   $      54,638.87   5265 Ronald Blvd., Ste. 110, Johnstown, CO 80534           970-800-9602
BHS, Inc. (dba Dalbo)                        $      68,000.00   2150 S. 1300 E. Ste. 100, Salt Lake City, UT 84106       888-610-1001
Canary Drilling Services, LLC                $      85,218.63   17207 N. Perimeter Drive, Suite 120, Scottsdale, AZ 85255 303-309-1185
Cochran Chemical Company, Inc.               $      57,981.00   1800 Ray Davis Blvd., Seminole, OK 74868                   405-382-8812
Crescent Consulting, LLC                     $     252,984.04   13212 N. MacArthur Blvd., Oklahoma City, OK 73142          405-603-1240
CVM Management, LLC                          $      61,503.60   13212 N MacArthur Blvd., Oklahoma City, OK 73142           405-603-1243
Cyclone Drilling, Inc.                       $   1,857,909.05   P.O. Box 908, Gillette, WY 82717                           307-682-4161
J.D. Rush Corp.                              $     381,491.76   5900 E. Lerdo Hwy., Shafter, CA 93263                      661-392-1900
Pete Martin Drilling, LLC                    $      62,065.41   P.O. Box 1935, Vernal, Utah 84078                          435-789-7223
Pinnacle Fuels, LLC                          $      82,870.00   20250 W. 2000 S., Duchesne, UT 84021                       435-454-4646
Propetro Services, Inc.                      $     216,771.82   1706 S. Midkiff Road, Midland, TX 79701                    432-688-0012
Schlumberger Technology Corporation          $     219,921.75   3600 Briarpark Drive, Houston, TX 77042                    281-285-8500
Slate Energy Marketing, LLC                  $      56,654.54   4251 FM 2181, Suite 230-474, Corinth, TX 76210             833-468-3835
Toolpushers Supply Company                   $     480,709.59   P. O. Drawer 2360, Casper, WY 82602                        307-266-0324
Total Directional Services, LLC              $     703,770.36   P.O. Box 831, Suite B, Windsor, CO 80550                   970-686-8893
Zeco Equipment, LLC                          $     159,159.56   275 South 800 East, Vernal, UT 84078                       435-781-0454
TOTAL:                                       $   5,339,820.91

Description of the Elkhorn oil & gas wells in Sanpete County, Utah that are subject to the liens (the “Subject Wells”):
Elkhorn Skyline #11-2 API 43-039-50010
Elkhorn Skyline #11-3 API 43-039-50011
Elkhorn Skyline #14-1 API 43-039-50009

The Subject Wells are all located in the SW 1⁄4 of the SW 1⁄4 of Sec. 11, Township 15, Range 3 East, S.L.B.M.


NOTE: All secured creditors have a lien interest in the Subject Wells, their priority is listed on Annex III hereto,
none of the creditors are insiders or related, no one else is liable for these claims, and all cliams are undisputed (unliquidated)


                                                                         Page 1 of 1
                        Case 22-40356    Doc 2   Filed 03/22/22 Entered 03/22/22 15:19:36       Desc Main
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Form 206D                                                 List of Priority of Secured Creditors of ELKHORN
Schedule D                                                EXPLORATION CO.
Annex III                                                 Lien Schedule - Sanpete County, UT
                                            Date              Amended Amended
Claimant                                  Recorded Entry No.    Date     Entry No.    Amount of Lien
Toolpushers Supply Company                   5/6/21   306173                         $   160,393.16
Toolpushers Supply Company                   5/6/21   306174                         $   175,771.74
Toolpushers Supply Company                   5/6/21   306175                         $   144,544.69
Slate Energy Marketing, LLC                 5/10/21   306287                         $    35,705.47
Slate Energy Marketing, LLC                  6/7/21   307049                         $    20,949.07
Crescent Consulting, LLC                    6/16/21   307322    8/10/21     308674   $   252,984.04
Zeco Equipment, LLC                         6/18/21   307357 11/15/21       311229   $   159,159.56
CVM Management, LLC                         6/29/21   307645    8/10/21     308672   $    61,503.60
Basin Fluids, LLC                            7/1/21   307697                         $   508,825.93
Pete Martin Drilling, LLC                   7/16/21   308088                         $    62,065.41
Cyclone Drilling, Inc.                      7/19/21   308142                         $ 1,857,909.05
Pinnacle Fuels, LLC                          8/5/21   308568                         $    82,870.00
Cochran Chemical Company, Inc.              8/20/21   308963                         $    57,981.00
Total Directional Services, LLC             8/23/21   309003                         $   703,770.36
B & C Quick Test, Inc.                      8/30/21   309154                         $    29,345.00
Schlumberger Technology Corporation         9/13/21   309583                         $   219,921.75
Propetro Services, Inc.                     9/27/21   310012                         $    32,561.82
Propetro Services, Inc.                     9/27/21   310013                         $   184,210.00
J.D. Rush Corp.                             11/4/21   311028                         $   381,491.76
Canary Drilling Services, LLC               12/2/21   311721                         $    85,218.63
Basin Well Logging Wireline Services, Inc. 12/27/21   312251                         $    54,638.87
BHS, Inc. (dba Dalbo)*                      1/12/22       n/a                        $    68,000.00
                                                                        Total:       $ 5,339,820.91

*Note: BHS, Inc. is an agreed judgment
               Case 22-40356               Doc 2         Filed 03/22/22 Entered 03/22/22 15:19:36                              Desc Main
                                                          Document     Page 17 of 46
                  Elkhorn Exploration Co.
Fill in this information to identify the case:

            Elkhorn Exploration Co.
Debtor name __________________________________________________________________

                                        Eastern
United States Bankruptcy Court for the: ______________________             Texas
                                                               District of _________
                                                                              (State)
Case number (If known): 22-40356
                        _________________________
               ___________________________________________


                                                                                                                                      ❑ Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


   Part 1:        Income



   1. Gross revenue from business

      ❑   None

              Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
              may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                     exclusions)

             From the beginning of the                                                           ❑   Operating a business
             fiscal year to filing date:     From ___________
                                                    MM / DD / YYYY
                                                                      to     Filing date         ❑   Other _______________________    $________________


             For prior year:                 From ___________         to     ___________         ❑   Operating a business
                                                                                                                                      $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                 ❑   Other _______________________

             For the year before that:       From ___________         to     ___________         ❑   Operating a business
                                                                                                                                      $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                 ❑   Other _______________________




   2. Non-business revenue
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
      from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      ❑   None

                                                                                                Description of sources of revenue    Gross revenue from each
                                                                                                                                     source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

             From the beginning of the
                                                                                                ___________________________          $________________
             fiscal year to filing date:     From ___________         to      Filing date
                                                    MM / DD / YYYY



             For prior year:                 From ___________         to      ___________
                                                    MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




             For the year before that:       From ___________         to      ___________
                                                    MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




 Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1
                   Case 22-40356                Doc 2      Filed 03/22/22 Entered 03/22/22 15:19:36                                Desc Main
                                                            Document     Page 18 of 46
Debtor             Elkhorn Exploration Co.
                   _______________________________________________________                                                22-40356
                                                                                                   Case number (if known)_____________________________________
                   Name




   Part 2:          List Certain Transfers Made Before Filing for Bankruptcy

   3. Certain payments or transfers to creditors within 90 days before filing this case
         List payments or transfers⎯including expense reimbursements⎯to any creditor, other than regular employee compensation, within 90
         days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
         adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         ❑      None

                 Creditor’s name and address                         Dates         Total amount or value         Reasons for payment or transfer
                                                                                                                 Check all that apply
         3.1.
                 Dalbo/BHS, Inc
                 __________________________________________          12/25/21
                                                                    ________         18,000.00
                                                                                   $_________________            ❑     Secured debt
                 Creditor’s name
                  2150 S 1300 E Suite 100
                                                                                                                 ❑     Unsecured loan repayments
                 __________________________________________
                 Street
                                                                     1/25/22
                                                                    ________                                     ❑     Suppliers or vendors
                 __________________________________________                                                      ❑     Services
                  Salt Lake City         Utah      84106             2/25/22
                 __________________________________________         ________                                     ❑            Purchase of 3 water tanks
                                                                                                                       Other _______________________________
                 City                          State    ZIP Code


         3.2.

                 __________________________________________         ________       $_________________            ❑     Secured debt
                 Creditor’s name
                                                                                                                 ❑     Unsecured loan repayments
                 __________________________________________
                 Street                                             ________                                     ❑     Suppliers or vendors
                 __________________________________________                                                      ❑     Services
                 __________________________________________
                 City                          State    ZIP Code
                                                                    ________                                     ❑     Other _______________________________


   4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
         List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
         guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
         $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
         Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
         general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
         the debtor. 11 U.S.C. § 101(31).

         ❑      None

                 Insider’s name and address                          Dates         Total amount or value        Reasons for payment or transfer
         4.1.

                 __________________________________________        _________      $__________________          ___________________________________________
                 Insider’s name
                 __________________________________________        _________                                   ___________________________________________
                 Street
                 __________________________________________        _________                                   ___________________________________________
                 __________________________________________
                 City                          State    ZIP Code


                 Relationship to debtor
                 __________________________________________


         4.2.

                 __________________________________________        _________      $__________________          ___________________________________________
                 Insider’s name
                 __________________________________________        _________                                   ___________________________________________
                 Street
                 __________________________________________        _________                                   ___________________________________________
                 __________________________________________
                 City                          State    ZIP Code



                 Relationship to debtor

                 __________________________________________



Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 2
                   Case 22-40356                Doc 2        Filed 03/22/22 Entered 03/22/22 15:19:36                                     Desc Main
                                                              Document     Page 19 of 46
Debtor             Elkhorn Exploration Co.
                   _______________________________________________________                                                       22-40356
                                                                                                          Case number (if known)_____________________________________
                   Name




   5. Repossessions, foreclosures, and returns
         List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
         sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         ❑      None
                Creditor’s name and address                          Description of the property                                   Date               Value of property
         5.1.

                __________________________________________           ___________________________________________                   ______________     $___________
                Creditor’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________           ___________________________________________
                __________________________________________
                City                          State     ZIP Code

         5.2.

                __________________________________________           ___________________________________________                   _______________      $___________
                Creditor’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________           ___________________________________________
                __________________________________________
                City                          State     ZIP Code


   6. Setoffs
         List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
         the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         ❑      None
                 Creditor’s name and address                            Description of the action creditor took                    Date action was       Amount
                                                                                                                                   taken

                 __________________________________________           ___________________________________________                _______________      $___________
                 Creditor’s name
                 __________________________________________           ___________________________________________
                 Street
                 __________________________________________
                 __________________________________________           Last 4 digits of account number: XXXX– __ __ __ __
                 City                          State     ZIP Code


    Part 3:            Legal Actions or Assignments

   7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
         List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
         was involved in any capacity—within 1 year before filing this case.

         ❑      None
                 Case title                                 Nature of case                          Court or agency’s name and address                 Status of case

         7.1.
                  See Annex IV
                 _________________________________          ______________________________         __________________________________________          ❑   Pending
                                                                                                   Name
                                                                                                                                                       ❑   On appeal
                                                                                                   __________________________________________
                 Case number                                                                       Street                                              ❑   Concluded
                                                                                                   __________________________________________
                 _________________________________                                                 __________________________________________
                                                                                                   City                  State             ZIP Code


                 Case title                                                                          Court or agency’s name and address
                                                                                                                                                       ❑   Pending
         7.2.
                 _________________________________          ______________________________         __________________________________________          ❑   On appeal
                                                                                                   Name
                                                                                                   __________________________________________
                                                                                                                                                       ❑   Concluded
                 Case number
                                                                                                   Street
                                                                                                   __________________________________________
                 _________________________________
                                                                                                   __________________________________________
                                                                                                   City                          State     ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
   Case 22-40356         Doc 2      Filed 03/22/22 Entered 03/22/22 15:19:36      Desc Main
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Form 207

Part 3                               Elkhorn Exploration CO.

Annex IV                          Legal Actions or Assignments




    •    B&C Quick Test, Inc. v. Elkhorn Exploration Co., et al. (Case No. 220600023)
    •    Basin Well Logging Wireline Services, Inc. v. Elkhorn Exploration Co.
    •    BHS, Inc. v. Elkhorn Exploration Co. (Case No. 210905383)
    •    Crescent Consulting, LLC/CVM Management LLC v. Elkhorn Exploration Co., et al.
         (Case No. 210600078)
    •    Cyclone Drilling, Inc. v. Elkhorn Exploration Co., et al. (Case No. 210600083)
    •    Pete Martin Drilling, LLC v. Elkhorn Exploration Co. (Case No. 220600003)
    •    Pinnacle Fuels, LLC v. Elkhorn Exploration Co. (Case No. 210600067)
    •    Propetro Services, Inc. v. Elkhorn Exploration Co., et al. (Case No. 220600012)
    •    Schlumberger Technology Corporation v. Elkhorn Exploration Co., et al. (Case No.
         220600025)
    •    Senergy Petroleum, LLC v. Elkhorn Exploration Co. (Case No. 220600002)
    •    Slate Energy Marketing LLC v. Elkhorn Exploration Co., et al. (Case No. 210600069)
    •    Toolpushers Supply Co v. Elkhorn Exploration Co., et al. (Case No. 210600031)
    •    Total Directional Services, LLC v. Elkhorn Exploration Co., et al. (Case No. 220600020)
    •    ZECO Equipment, LLC v. Elkhorn Exploration Co. (Case No. 210600081)




*All cases filed in the State of Utah.
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Debtor             Elkhorn Exploration Co.
                   _______________________________________________________                                                   22-40356
                                                                                                      Case number (if known)_____________________________________
                   Name




   8. Assignments and receivership
         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
         hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
         ❑      None
                  Custodian’s name and address                       Description of the property                        Value

                 __________________________________________          ______________________________________             $_____________
                 Custodian’s name
                                                                      Case title                                        Court name and address
                 __________________________________________
                 Street
                                                                     ______________________________________           __________________________________________
                 __________________________________________                                                           Name
                 __________________________________________           Case number                                     __________________________________________
                 City                          State     ZIP Code                                                     Street
                                                                     ______________________________________           __________________________________________
                                                                      Date of order or assignment                     __________________________________________
                                                                                                                      City                 State               ZIP Code

                                                                     ______________________________________

   Part 4:             Certain Gifts and Charitable Contributions

   9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
         of the gifts to that recipient is less than $1,000
         ❑      None
                 Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


                __________________________________________           ___________________________________________                 _________________   $__________
         9.1.
                Recipient’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State     ZIP Code


                  Recipient’s relationship to debtor
                  __________________________________________


                __________________________________________           ___________________________________________                 _________________   $__________
         9.2. Recipient’s name

                __________________________________________           ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State     ZIP Code

                  Recipient’s relationship to debtor
                  __________________________________________


   Part 5:             Certain Losses

   10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         ❑      None
                 Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
                 occurred                                            If you have received payments to cover the loss, for                            lost
                                                                     example, from insurance, government compensation, or
                                                                     tort liability, list the total received.
                                                                     List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                     Assets – Real and Personal Property).


                 ___________________________________________         ___________________________________________                 _________________   $__________
                 ___________________________________________


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Debtor          Elkhorn Exploration Co.
                _______________________________________________________                                                 22-40356
                                                                                                 Case number (if known)_____________________________________
                Name




   Part 6:       Certain Payments or Transfers

   11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
         the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
         seeking bankruptcy relief, or filing a bankruptcy case.

         ❑   None

              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value

              __________________________________________
     11.1.                                                        ___________________________________________
                                                                                                                           ______________       $_________
              Address
                                                                  ___________________________________________
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                        State      ZIP Code


              Email or website address
              _________________________________

              Who made the payment, if not debtor?


              __________________________________________


              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value


     11.2.    __________________________________________          ___________________________________________
                                                                                                                           ______________       $_________
              Address                                             ___________________________________________
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                        State      ZIP Code

              Email or website address
              __________________________________________

              Who made the payment, if not debtor?

              __________________________________________


   12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
         a self-settled trust or similar device.
         Do not include transfers already listed on this statement.

         ❑   None

              Name of trust or device                             Describe any property transferred                         Dates transfers     Total amount or
                                                                                                                            were made           value


              __________________________________________          ___________________________________________               ______________       $_________

              Trustee                                             ___________________________________________
              __________________________________________




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Debtor          Elkhorn Exploration Co.
                _______________________________________________________                                                    22-40356
                                                                                                    Case number (if known)_____________________________________
                Name




   13. Transfers not already listed on this statement
         List any transfers of money or other property⎯by sale, trade, or any other means⎯made by the debtor or a person acting on behalf of the debtor
         within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
         Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


         ❑   None

              Who received transfer?                                 Description of property transferred or payments received   Date transfer      Total amount or
                                                                     or debts paid in exchange                                  was made           value



     13.1.    __________________________________________             ___________________________________________                ________________    $_________

                                                                     ___________________________________________
              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________




              Who received transfer?
                                                                     ___________________________________________                ________________    $_________

     13.2.    __________________________________________             ___________________________________________

              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________



   Part 7:       Previous Locations

   14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         ❑   Does not apply
              Address                                                                                                Dates of occupancy


     14.1.     3637 Plymouth Rock Cove
               _______________________________________________________________________                               From        June 2021
                                                                                                                                ____________       To    Feb 2022
                                                                                                                                                        ____________
              Street
              _______________________________________________________________________
               Lehi                                     Utah         84043
              _______________________________________________________________________
              City                                               State         ZIP Code


     14.2.     _______________________________________________________________________                               From       ____________       To   ____________
              Street
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


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Debtor           Elkhorn Exploration Co.
                 _______________________________________________________                                                     22-40356
                                                                                                      Case number (if known)_____________________________________
                 Name




   Part 8:            Health Care Bankruptcies

   15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
         ⎯ diagnosing or treating injury, deformity, or disease, or
         ⎯ providing any surgical, psychiatric, drug treatment, or obstetric care?

         ❑   No. Go to Part 9.
         ❑   Yes. Fill in the information below.
               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.1.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ____________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                              ❑   Electronically
                                                                                                                                              ❑   Paper

               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.2.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ___________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                              ❑   Electronically
                                                                                                                                              ❑   Paper

   Part 9:            Personally Identifiable Information

   16. Does the debtor collect and retain personally identifiable information of customers?

         ❑   No.
         ❑   Yes. State the nature of the information collected and retained. ___________________________________________________________________
                      Does the debtor have a privacy policy about that information?
                      ❑   No
                      ❑   Yes
   17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
         pension or profit-sharing plan made available by the debtor as an employee benefit?

         ❑   No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?
                      ❑   No. Go to Part 10.
                      ❑   Yes. Fill in below:
                           Name of plan                                                                             Employer identification number of the plan

                           _______________________________________________________________________                  EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                          Has the plan been terminated?
                          ❑    No
                          ❑    Yes



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Debtor           Elkhorn Exploration Co.
                 _______________________________________________________                                                     22-40356
                                                                                                     Case number (if known)_____________________________________
                 Name




   Part 10:           Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

   18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
         moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

         ❑   None

               Financial institution name and address           Last 4 digits of account        Type of account             Date account was        Last balance
                                                                number                                                      closed, sold, moved,    before closing or
                                                                                                                            or transferred          transfer

     18.1.     Chase Bank
               ______________________________________                 1 ___
                                                                XXXX–___ 5 ___
                                                                            3 ___
                                                                               3                ❑ Checking                  ___________________       0.00
                                                                                                                                                     $__________
               Name
                                                                                                ❑ Savings
               ______________________________________
               Street                                                                           ❑ Money market
               ______________________________________
                                                                                                ❑ Brokerage
               ______________________________________
               City                  State        ZIP Code                                      ❑ Other______________

     18.2.     ______________________________________           XXXX–___ ___ ___ ___            ❑ Checking                  ___________________      $__________
               Name
                                                                                                ❑ Savings
               ______________________________________
               Street                                                                           ❑ Money market
               ______________________________________
                                                                                                ❑ Brokerage
               ______________________________________
               City                  State        ZIP Code                                      ❑ Other______________

   19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

         ❑   None

                 Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                          still have it?

               ______________________________________          __________________________________          __________________________________             ❑   No
               Name
                                                               __________________________________          __________________________________
                                                                                                                                                          ❑   Yes
               ______________________________________
               Street                                          __________________________________          __________________________________
               ______________________________________
               ______________________________________           Address
               City                  State        ZIP Code
                                                               ____________________________________

                                                               ____________________________________

  20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
         which the debtor does business.

      ❑      None

                 Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                          still have it?
                                                                                                                                                           ❑ No
               ______________________________________
               Name
                                                               __________________________________          __________________________________
                                                                                                                                                           ❑ Yes
                                                               __________________________________          __________________________________
               ______________________________________
               Street                                          __________________________________          __________________________________
               ______________________________________
               ______________________________________            Address
               City                  State        ZIP Code
                                                                ________________________________
                                                                _________________________________



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Debtor            Elkhorn Exploration Co.
                  _______________________________________________________                                                    22-40356
                                                                                                      Case number (if known)_____________________________________
                  Name




   Part 11:          Property the Debtor Holds or Controls That the Debtor Does Not Own

   21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

         ❑   None

              Owner’s name and address                              Location of the property                Description of the property                 Value

                                                                                                                                                        $_______
              ______________________________________                __________________________________      __________________________________
              Name
                                                                    __________________________________      __________________________________
              ______________________________________
              Street                                                __________________________________      __________________________________
              ______________________________________
              ______________________________________
              City                 State          ZIP Code




   Part 12:          Details About Environmental Information

   For the purpose of Part 12, the following definitions apply:
   ◼ Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).
   ◼ Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.
   ◼ Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

   Report all notices, releases, and proceedings known, regardless of when they occurred.


   22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


         ❑   No
         ❑   Yes. Provide details below.
              Case title                                     Court or agency name and address              Nature of the case                       Status of case

              _________________________________
                                                             _____________________________________         __________________________________       ❑   Pending
              Case number                                    Name
                                                                                                           __________________________________
                                                                                                                                                    ❑   On appeal

              _________________________________
                                                             _____________________________________
                                                             Street
                                                                                                                                                    ❑   Concluded
                                                                                                           __________________________________
                                                             _____________________________________
                                                             _____________________________________
                                                             City                    State     ZIP Code




   23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
         environmental law?

         ❑   No
         ❑   Yes. Provide details below.

             Site name and address                           Governmental unit name and address            Environmental law, if known             Date of notice


              __________________________________             _____________________________________         __________________________________       __________
              Name                                           Name
                                                                                                           __________________________________
              __________________________________             _____________________________________
              Street                                         Street                                        __________________________________
              __________________________________             _____________________________________
              __________________________________             _____________________________________
              City                 State     ZIP Code        City                   State      ZIP Code




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Debtor            Elkhorn Exploration Co.
                  _______________________________________________________                                               22-40356
                                                                                                 Case number (if known)_____________________________________
                  Name




   24. Has the debtor notified any governmental unit of any release of hazardous material?
         ❑   No
         ❑   Yes. Provide details below.

             Site name and address                       Governmental unit name and address           Environmental law, if known                Date of notice


              __________________________________        ______________________________________        __________________________________           __________
              Name                                      Name
                                                                                                      __________________________________
              __________________________________        ______________________________________
              Street                                    Street                                        __________________________________
              __________________________________        ______________________________________
              __________________________________        ______________________________________
              City                 State    ZIP Code    City                 State        ZIP Code




   Part 13:            Details About the Debtor’s Business or Connections to Any Business


   25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.

         ❑   None


              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
     25.1.    __________________________________         _____________________________________________
              Name                                                                                             Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State    ZIP Code




              Business name and address                  Describe the nature of the business                   Employer Identification number
     25.2.                                                                                                     Do not include Social Security number or ITIN.

              __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                                                                               Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State    ZIP Code



              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

     25.3.    __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                         _____________________________________________         Dates business existed
              __________________________________
              Street                                     _____________________________________________
              __________________________________
              __________________________________                                                               From _______         To _______
              City                 State    ZIP Code




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Debtor               Elkhorn Exploration Co.
                     _______________________________________________________                                                 22-40356
                                                                                                      Case number (if known)_____________________________________
                     Name




   26. Books, records, and financial statements
         26a. List   all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                ❑     None
                 Name and address                                                                                   Dates of service

                                                                                                                    From _______       To _______
     26a.1.      __________________________________________________________________________________
                 Name
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 __________________________________________________________________________________
                 City                                                State                 ZIP Code


                 Name and address                                                                                   Dates of service

                                                                                                                    From _______       To _______
     26a.2.      __________________________________________________________________________________
                 Name
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 __________________________________________________________________________________
                 City                                                State                 ZIP Code



         26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
                statement within 2 years before filing this case.
                ❑     None

                        Name and address                                                                            Dates of service

                                                                                                                          2020
                                                                                                                    From _______          2021
                                                                                                                                       To _______
           26b.1.        Muret CPA, PLLC
                        ______________________________________________________________________________
                        Name
                        3326 E 27th Place
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        Tulsa                                        Oklahoma            74114
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code


                        Name and address                                                                            Dates of service

                                                                                                                    From _______       To _______
           26b.2.       ______________________________________________________________________________
                        Name
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code



         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                ❑     None
                        Name and address                                                                            If any books of account and records are
                                                                                                                    unavailable, explain why


            26c.1.      ______________________________________________________________________________              _________________________________________
                        Name
                                                                                                                    _________________________________________
                        ______________________________________________________________________________
                        Street                                                                                      _________________________________________
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code



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Debtor                Elkhorn Exploration Co.
                      _______________________________________________________                                              22-40356
                                                                                                    Case number (if known)_____________________________________
                      Name




                         Name and address                                                                         If any books of account and records are
                                                                                                                  unavailable, explain why


             26c.2.      ______________________________________________________________________________           _________________________________________
                         Name
                                                                                                                  _________________________________________
                         ______________________________________________________________________________
                         Street                                                                                   _________________________________________
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code



         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
              within 2 years before filing this case.

                ❑      None

                         Name and address


             26d.1.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code


                         Name and address


             26d.2.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code




   27. Inventories

         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ❑    No
         ❑    Yes. Give the details about the two most recent inventories.



                 Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                      inventory    other basis) of each inventory


                ______________________________________________________________________               _______      $___________________

                 Name and address of the person who has possession of inventory records


     27.1.       ______________________________________________________________________
                Name
                ______________________________________________________________________
                Street
                ______________________________________________________________________
                ______________________________________________________________________
                City                                                     State        ZIP Code




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Debtor
                   Elkhorn Exploration Co.
                   _______________________________________________________                                               22-40356
                                                                                                 Case number (if known)_____________________________________
                   Name




               Name of the person who supervised the taking of the inventory                      Date of           The dollar amount and basis (cost, market, or
                                                                                                  inventory         other basis) of each inventory

               ______________________________________________________________________             _______       $___________________

               Name and address of the person who has possession of inventory records


     27.2.     ______________________________________________________________________
               Name
               ______________________________________________________________________
               Street
               ______________________________________________________________________
               ______________________________________________________________________
               City                                                    State          ZIP Code


   28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
         people in control of the debtor at the time of the filing of this case.

               Name                                 Address                                              Position and nature of any             % of interest, if any
                                                                                                         interest
             Twin Creek Land Partners, LLC
               ____________________________         3637 W Plymouth Rock Cove
                                                    _____________________________________________        Shareholder
                                                                                                         ____________________________
                                                                                                                                                  100%
                                                                                                                                                 _______________
                                                    Lehi, Utah 84043
               ____________________________         _____________________________________________        ____________________________            _______________

               ____________________________         _____________________________________________        ____________________________            _______________

               Frank James Brown
               ____________________________         9013 Thompson Drive
                                                    _____________________________________________        President/CEO
                                                                                                         ____________________________
                                                                                                                                                  0
                                                                                                                                                 _______________
                                                    Argyle, Texas 76226
               ____________________________         _____________________________________________        ____________________________            _______________

   29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
         of the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ❑    No
         ❑    Yes. Identify below.

               Name                                 Address                                               Position and nature of          Period during which
                                                                                                          any interest                    position or interest was
                                                                                                                                          held
                                                    11467 Outpost Cove Drive                                Shareholder                       2020 To _____
               Dayna  Smart
               ____________________________         _____________________________________________         ______________________         From _____   5/31/2021
                                                     Willis, Texas 77318
               ____________________________         _____________________________________________         ______________________         From _____ To _____

               Chris  Smart
               ____________________________         11467   Outpost Cove Drive
                                                    _____________________________________________         President/CEO
                                                                                                          ______________________              2020 To 5/31/2020
                                                                                                                                         From _____   _____
                                                    Willis, Texas 77318
               ____________________________         _____________________________________________         ______________________         From _____ To _____

   30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?
         ❑    No
         ❑    Yes. Identify below.

               Name and address of recipient                                             Amount of money or                   Dates              Reason for
                                                                                         description and value of                                providing the value
                                                                                         property


     30.1.     ______________________________________________________________             _________________________           _____________       ____________
               Name
               ______________________________________________________________
               Street                                                                                                        _____________
               ______________________________________________________________
               ______________________________________________________________                                                _____________
               City                                     State          ZIP Code

               Relationship to debtor                                                                                        _____________

               ______________________________________________________________                                                _____________

Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 13
             Case 22-40356                              Doc 2      Filed 03/22/22 Entered 03/22/22 15:19:36                              Desc Main
                                                                    Document     Page 31 of 46

Debtor                 Elkhorn Exploration Co.                                                                                    2_2_-4_0_3_5_6_______
                                                                                                         Case number (lfllllown).__
                    N11mc



                Name ancfaddress of recipient·

     30.2
                Name


                Street



                City                                               State         ZIP Cede


                Relationihfpto debtor.




   31. Within       6 years before flllng this case, has the debtor been a member of any consolidated group for tax purposes?
         .No
         □ Yes. Identify below.
                                                                                                                 Employ,r Jde�cptlon.riumbJtrofthe.�nt-
                                                                                                                 corporation  ·         ·      ·   ·.-- - ---
                                                                                                                 EIN: __ _______


   32. Within 6        years before flllng this case, has the debtor as an employer been responsible for contributing to a pension fund?
         .No
         □ Yes. Identify below.
             ' ,·      �    .   .   .   -   '   '   -



              _Name'oftlle pension fund                                                                          Employer Identification number of th� penalonfun·d _.
                                                                                                                EIN: __ _______



                           Signature and Declaration


             WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
             connection with a bankruptcy case can result In fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.
             I declare under penalty of perjury that the foregoing is true and correct.




                                                                                               Printed name __
                                                                                                                                             tc  B ______
                                                                                                                  ....;r_.;:.....__(l..._f4_N_____
                                                                                                                                                (<,OW,./


                                                                                             Ceo
                                                                                                                                                                    I I




         Are addltlonal pages t                          nt of Financial Affairs for Non-Individuals Filing for Bankruptcy (Offlclal Form 207) attached?
         • No
         □      Yes



Official Form 207                                        Statement of Flnanclal Affairs for Non-lndlvlduals Filing for Bankruptcy                         page 14
                   Case 22-40356                     Doc 2           Filed 03/22/22 Entered 03/22/22 15:19:36                               Desc Main
   Fill in this information to identify the case:                     Document     Page 32 of 46

   Debtor            Elkhorn Exploration Co.
                    __________________________________________________________________

                                           Eastern
   United States Bankruptcy Court for the: ______________________             Texas
                                                                  District of __________
                                                                                              (State)
   Case number        22-40356
                     ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
        Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   3
                                                                                                                                                       page 1 of ___
               Case
               Elkhorn22-40356      Doc 2
                       Exploration Co.                  Filed 03/22/22 Entered 03/22/22 15:19:36        22-40356Desc Main
  Debtor       _______________________________________________________
               Name                                      Document     Page 33 of Case
                                                                                  46 number (if known)_____________________________________
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                           $________________________________
     See Annex I-B                                                         Check all that apply.
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   2 of ___
                                                                                                                                                  page __    3
               Case  22-40356
               Elkhorn             Doc 2
                       Exploration Co.            Filed 03/22/22 Entered 03/22/22 15:19:36       22-40356 Desc Main
 Debtor        _______________________________________________________
               Name                                Document     Page 34 of Case
                                                                            46 number (if known)_____________________________________
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                       Total of claim amounts



5a. Total claims from Part 1                                                                 5a.         0.00
                                                                                                       $_____________________________




5b. Total claims from Part 2                                                                 5b.   +     0.00
                                                                                                       $_____________________________




5c. Total of Parts 1 and 2
                                                                                             5c.        1,139,109.65
                                                                                                       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                      3 of ___
                                                                                                                                page __    3
                          Case 22-40356    Doc 2    Filed 03/22/22 Entered 03/22/22 15:19:36      Desc Main
                                                     Document     Page 35 of 46

FORM 206 E/F
Schedule E/F                                              ELKHORN EXPLORATION CO.
Annex 1-B                                               LIST OF UNSECURED CREDITORS

Vendor/Payee              Amount Owed                                 Address                                 Phone #
Bitco Services            $ 56,895.13    25138 Township Rd 490, Leduc County, Alberta, Canada T4X 2N4     780-850-1894
Brian Bajoie              $ 200,000.00   13902 Cotton Bluff Lane, Tomball, TX 77377                       720-393-9993
C&M Oilfield rentals      $ 11,614.08    3429 Cottonwood Ave Ste 1 Cody, WY, 82414                        970-420-1732
Christensen Ready Mix     $ 252,600.32   1912 US-89, Mt. Pleasant, UT 84647                               435-462-3228
Dynasty Energy            $ 27,951.57    210 Magnate Drive, Suite 101, Lafayette, LA 70508                337-291-6005
Energy Armour             $ 2,042.00     457 E. 700 S., Vernal, UT 84078                                  801-995-2534
K Bar A Construction      $ 30,185.00    845 E Main St, Vernal, UT 84078                                  435-789-7534
Larry Chambers            $ 13,457.82    6107 South Lakeview St., Littleton, CO 80120                     303-638-6859
Niel Sorenson Farms       $ 60,000.00    75 East 200 North, Spring City, UT 84662                         435-851-1965
Pathfinder Inspections    $ 47,384.00    P.O. Box 3889, Gillette, WY 82717                                307-682-2199
Price Pumping             $ 8,107.50     630 E. 500 S., Vernal, UT 84078                                  435-789-9777
Sanpete County Landfill   $ 59,684.30    160 N. Main, Manti, UT 84642                                     435-835-2131
Senergy                   $ 140,259.09   622 S. 56th Avenue, Pheonix, AZ 85043                            800-964-0076
Skyline Oil, LLC          $ 75,000.00    1517 Grove Dr., Alpine, UT 84004                                 801-376-1230
SOFS - Stallion Rockies   $ 116,180.24   950 Corbindale, Suite 400, Houston, TX 77024                     970-625-4016
Terra Guidance            $ 28,788.60    67 W. Floyd Ave., Suite 105, Englewood, CO 80110                 970-260-5408
Uintah Group              $ 8,960.00     85 South 200 East, Vernal, UT 84078                              435-789-1017

                  TOTAL: $1,139,109.65
                    Case 22-40356                            Doc 2              Filed 03/22/22 Entered 03/22/22 15:19:36                                                               Desc Main
                                                                                 Document     Page 36 of 46

 Fill in this information to identify the case:

              Elkhorn Exploration Co. _____ _____ _____ ______ _____ _____ _____ _
 Debtor name ____________________________


                                           Eastern
 United States Bankruptcy Court f or the: _______________________             Texas
                                                                  District of ________
                                                                                                                 (State)
 Case number (If known):                  22-40356
                                      _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                         0.00
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                               142,000.00
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                   142,000.00
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                    5,339,820.91
                                                                                                                                                                                                $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                    0.00
                                                                                                                                                                                                $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +     1,139,109.65
                                                                                                                                                                                                $ ________________




     Total liabilities...................................................................................................................................................................
                                                                                                                                                                                                  6,478,930.56
4.
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
                Case 22-40356               Doc 2        Filed 03/22/22 Entered 03/22/22 15:19:36                               Desc Main
                                                          Document     Page 37 of 46
 Fill in this information to identify the case:

 Debtor name Elkhorn  Exploration Co.
             __________________________________________________________________

                                        Eastern
 United States Bankruptcy Court for the:______________________ District of     Texas
                                                                               _______
                                                                              (State)
 Case number (If known):     22-40356
                            _________________________                Chapter 11
                                                                             _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or       Seven (7) Well Farmouts
                                          ____________________________________             Skyline Oil
                                                                                           _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________             1517 Grove Drive, Alpine, Utah 84004
                                                                                           _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or
                                           Working Interest in Wells
                                          ____________________________________
                                                                                             Freedom Energy
                                                                                           _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________               3637 West Plymouth Roch Cove
                                                                                           _________________________________________________________
                                                                                             Lehi, Utah 84043
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       #11-3   wellhead rental
                                          ____________________________________             Canary, LLC
                                                                                           _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         $3,500.00 per month
                                          ____________________________________             17207 N. Perimeter Drive, Suite 120
                                                                                           _________________________________________________________

                                                                                           Scottsdale, Arizona 85255
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
            Case 22-40356                 Doc 2         Filed 03/22/22 Entered 03/22/22 15:19:36                              Desc Main
                                                         Document     Page 38 of 46

  Fill in this information to identify the case ancl this filing:


  Debtor Name Elkhorn Exploration Co.
  United States Bankruptcy Court for the: ...E....a___s__     _________ Dlstrid of Texas
                                                       te.....m
                                                                                (State)
  Case number (If known):      22-40356



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   1211s

An lndlvldual who Is authorized to act on behalf of a non-lndlvldual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and Uabllltles, any other document that requires a declaration that Is not Included In the document,
and any amendments of those documents. This form must state the lndlvldual's position or relatlonshlp to the debtor, the Identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankruptcy case can result In fines up to $500,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another Individual serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the infonnation is �e and correct .


         ■     Schedule AIB: Assets-Real and Personal Property (Official Fonn 206AIB)

         ■     Schedule D: Creditors Who Have Claims Secured by Property (Official Fonn 2060)

         ■     Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ■     Schedule G: Executory Contracts and Unexpired Leases (Official Fonn 206G)

         □     Schedule H: Codebtors (Official Fonn 206H)

         ■     Summary of Assets and Uabilities for Non-Individuals {Official Fonn 206Sum)

         □     Amended Schedule

         □     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders {Official Fann 204)

         □     Other document that requires a declaration_____________________________




         Executed on    03/22/2022
                            MM/ DD/YYYY




                                                                    President/CEO
                                                                  Position or relationship to debtor


Official Fonn 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
                           Case 22-40356        Doc 2   Filed 03/22/22    Entered 03/22/22 15:19:36    Desc Main
FORM 201 -- ANNEX I                                 ELKHORN  EXPLORATION
                                                       Document Page 39 of 46 CO.
                                                       LIST OF CREDITORS
Vendor / Payee               $ Amount Owed    Address                                                        Phone
B&C Quicktest                $    29,345.00   2460 N. 500 E., Vernal, UT 84078                               435-789-8159
Basin Fluids                 $ 508,775.93     4317 E. Utah PL., Denver, CO 80222                             303-501-7836
Basin Well Logging           $    54,638.87   5265 Ronald Blvd., Ste. 110, Johnstown, CO 80534               970-800-9602
BHS, Inc. (dbaDalbo)         $    68,000.00   2150 S. 1300 E. Ste. 100, Salt Lake City, UT 84106             888-610-1001
Bitco Services               $    56,895.13   25138 Township Rd 490, Leduc County, Alberta, Canada T4X 2N4    780-850-1894
Blackstone Oilfield Services $ 114,955.23     525 N. 1st Street #77, Bloomfield, NM 87413                    214-886-9393
Brian Bajoie                 $ 200,000.00     13902 Cotton Bluff Lane, Tomball, TX 77377                     720-393-9993
C&M Oilfield rentals         $    11,614.08   3429 Cottonwood Ave Ste 1 Cody, WY, 82414                      970-420-1732
Canary, LLC                  $    84,324.21   17207 N. Perimeter Drive, Suite 120, Scottsdale, AZ 85255      303-309-1185
Christensen Ready Mix        $ 252,600.32     1912 US-89, Mt. Pleasant, UT 84647                             435-462-3228
Cochran Chemical             $    57,981.00   1800 Ray Davis Blvd., Seminole, OK 74868                       405-382-8812
Crescent Consulting          $ 252,984.04     13212 N. MacArthur Blvd., Oklahoma City, OK 73142              405-603-1240
CVM Management               $    61,503.60   13212 N MacArthur Blvd., Oklahoma City, OK 73142               405-603-1243
Cyclone Drilling, Inc.       $ 1,964,946.05   P.O. Box 908, Gillette, WY 82717                               307-682-3158
Dynasty Energy               $    27,951.57   210 Magnate Drive, Suite 101, Lafayette, LA 70508              337-291-6005
Energy Armour                $     2,042.00   457 E. 700 S., Vernal, UT 84078                                801-995-2534
JD Rush Corp                 $ 293,479.85     5900 E. Lerdo Hwy., Shafter, CA 93263                          661-392-1900
JD Rush Corp                 $    88,011.91   5900 E. Lerdo Hwy., Shafter, CA 93263                          661-392-1900
K Bar A Construction         $    30,185.00   845 E Main St, Vernal, UT 84078                                435-789-7534
Larry Chambers               $    13,457.82   6107 South Lakeview St., Littleton, CO 80120                   303-638-6859
Lear & Lear, PLLC            $    97,450.00   808 East South Temple Street, Salt Lake City, UT 84102         801-538-5000
Niel Sorenson Farms          $    60,000.00   75 East 200 North, Spring City, UT 84662                       435-851-1965
Pathfinder Inspections       $    47,384.00   P.O. Box 3889, Gillette, WY 82717                              307-682-2199
Pete Martin Drilling         $    62,065.41   1285 E. 335 S., PO Box 1935, Vernal, UT 84078                  435-789-9673
Pinnacle Fuels / IWM         $ 138,486.18     20250 W. 2000 S., Duchesne, UT 84021                           435-454-4646
Price Pumping                $     8,107.50   630 E. 500 S., Vernal, UT 84078                                435-789-9777
ProPetro Services            $ 217,446.84     1706 S. Midkiff Road, Midland, TX 79701                        432-688-0012
Sanpete County Landfill      $    59,684.30   160 N. Main, Manti, UT 84642                                   435-835-2131
Senergy                      $ 140,259.09     622 S. 56th Avenue, Pheonix, AZ 85043                          800-964-0076
Skyline Oil, LLC             $    75,000.00   1517 Grove Dr., Alpine, UT 84004                               801-376-1230

                                                                   Page 1 of 2
                          Case 22-40356      Doc 2   Filed 03/22/22     Entered 03/22/22 15:19:36   Desc Main
FORM 201 -- ANNEX I                              ELKHORN  EXPLORATION
                                                    Document Page 40 of 46 CO.
                                                    LIST OF CREDITORS
Slate Energy Marketing    $    60,305.45   4251 FM 2181, Suite 230-474, Corinth, TX 76210              833-468-3835
SOFS - Stallion Rockies   $   116,180.24   950 Corbindale, Suite 400, Houston, TX 77024                970-625-4016
Terra Guidance            $    28,788.60   67 W. Floyd Ave., Suite 105, Englewood, CO 80110            970-260-5408
Tool Pushers Supply       $   589,687.78   P. O. Drawer 2360, Casper, WY 82602                         307-266-0324
Total Directional         $   703,770.36   P.O. Box 831, Suite B, Windsor, CO 80550                    970-686-8893
Uintah Group              $     8,960.00   85 South 200 East, Vernal, UT 84078                         435-789-1017
ZECO Equipment            $   155,109.56   275 South 800 East, Vernal, UT 84078                        435-781-0454

TOTAL:                    $ 6,742,376.92




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          Elkhorn Exploration Co. – A Brief History

         The Mancos Shale Play is a 50,000-acre shale play located in T14S R3E, T14S R4E, T15S, R3E, and
T15S R4E, SLM, Sanpete County, Utah, that was most recently drilled (2014-2015) by Whiting Petroleum.
Whiting Petroleum was one of the top shale drillers and producers in the Bakken shale in North Dakota, among
others. The Mancos Shale Play generally surrounds the town of Moroni, Utah. Whiting's #11M Tununk Shale
(Mancos) test well is located approximately one-half mile just east of town. The Moroni #11M-1107 was
spudded by Whiting Petroleum on August 27, 2014, to a depth of ~12,000', plus a 4,000' long horizontal leg.
Core sampling in the Tununk Shale demonstrated impressive shows, excellent natural fractures, and high
gradient .81 PSI/ft. The horizontal was drilled laterally into the high perm section of the Tununk to intersect
natural fractures. Production began in February 2015 and the frac load was not fully recovered. Despite oil
flows of 100-300 barrels of oil per day (BO/d) with frac fluid recovery, the well was shut-in, and Whiting
Petroleum exited the play during the summer of 2017. Previous public statements made by Whiting Petroleum
at a Utah Division of Oil, Gas & Mining hearing suggest that future drills planned by Whiting Petroleum would
be vertical wells. Whiting's #11M well confirmed that these Tununk shale prospects are over 300' thick at
depth, contain total organic carbon ("TOC") greater than 2%, and have high thermal maturity and a brittle
nature that is naturally fractured. Natural fractures present in the reservoir potentially reduce the need for
hydraulic fracturing, saving money and reducing possible environmental/political issues. To summarize, the
Tununk member of the Mancos Shale is thick, has high TOC, interbedded sandstones, natural fractures, and a
high-pressure gradient, which should yield a higher-than-average oil recovery factor. Experts estimate that test
wells properly drilled and stimulated should produce in the range of 1,000 BO/d (plus gas) and that this 50,000-
acre shale play could contain in excess of 500 MMBOE.

          On October 6, 2020, Skyline signed a seven-well, drill-to-earn Farmout Agreement (the "Farmout")
with Elkhorn Exploration Co., Tulsa, Oklahoma ("Elkhorn"). Under the Farmout, Elkhorn agreed to drill three
initial exploratory wells (the "Elkhorn Test Wells"). The first initial Elkhorn Test Well is to be spudded on or
before April 30, 2021, and Elkhorn agreed to proceed with drilling all seven Phase I and Phase II wells at the
average rate of one well per month, subject to application for permit to drill approval by Utah Division of Oil,
Gas & Mining, force majeure, or rig availability/timing/repairs. Under the Farmout, Elkhorn agreed to pay for
all (100%) drilling, testing, and completion costs (including fracking costs) to the tanks1, for each Elkhorn Test
Well, and all other wells under the Farmout. The authority for expenditure (AFE) for all drilling and completion
expenses was estimated to be $5.5 million per well. Each Elkhorn Test Well will be drilled to a depth sufficient
to test the Tununk Shale and Dakota Sandstone, or to a depth of approximately 12,000 feet below the surface
of the earth, whichever is the lesser depth (objective depth), and thereafter, if not completed as a well capable
of producing oil and/or gas in paying quantities, will be plugged and abandoned as a dry hole.

         Under the Farmout, Elkhorn will retain 50.0% of the working interest in each Elkhorn Test Well and
its associated spacing unit, subject to a payout provision whereby Elkhorn will be entitled to receive a majority
of the net revenues from each well until 100% of all drilling and completion costs are recovered from each
well, computed on a well-by-well basis ("Payout"). "Payout" refers to that point in time at which the total
proceeds from the sale of oil, gas, and associated hydrocarbons produced from each of the initial Elkhorn Test
Wells (plus the current market value of any unsold hydrocarbons) allocable to the leasehold interest assigned
(after deducting any taxes based directly upon or measured by such production) equals 100% of all direct costs
of drilling, testing, and completing the initial Elkhorn Test Wells, plus the operating costs allocable to such
wells during the Payout period. In exchange for drilling and completing (or plugging) all three initial Elkhorn
Test Wells, Elkhorn earns and will be assigned a 25.0% working interest by Skyline in the existing or pending
50,000 net leasehold acres. Following the same formula, Elkhorn earns and will be assigned an additional
25.0% working interest in the next four Elkhorn Test Wells, for a total earning of a 50.0% working interest in
50,000 acres. Assuming all seven Phase I and Phase II Wells are drilled, completed, and/or plugged hereunder,
Elkhorn retains the exclusive option for one year to drill additional wells to further develop the field in
exchange for a 50.0% working interest in such additional wells and in the additional acreage leased by Skyline,

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  The reference "to the tanks" means all costs incurred for the drilling, completing, reworking, sidetracking, deepening, recompleting,
plugging back, and equipping such wellbore(s) prior to the point of delivery of production from the wellbore(s) to the tanks for oil, and
to the first meter on the wellsite for gas.
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based upon a valuation of $500 per net acre. In order to finance drilling and completion operations, Elkhorn
will sell and assign interests in the Test Wells and Lands.

         On April 7, 2021, Elkhorn spudded the Elkhorn-Skyline #14-1 well, and subsequently spudded the
Elkhorn-Skyline #12-1 well and the #11-3 well, the first three of the seven wells to be drilled under the
Farmout. As of Wednesday May 19th, the first three Test Wells had been spudded and drilled – one completely
and two partially: (1) the Elkhorn-Skyline #14-1, and #11-2 wells have been drilled and cased (intermediate
casing set) to approximately 4,400’ in depth; and (2) the Elkhorn-Skyline #11-3 well has been drilled to a total
depth (TD) of 12,700’ and cased (with production string cemented). Logs have yet to be run on the #11-3 well
but the driller’s mud log showed the presence of significant hydrocarbons in the two target zones. Additionally,
we recently learned that while drilling through the main target zone, the Tununk Shale, crude oil (and natural
gas) flows were experienced by the drilling rig, requiring an increase in the drilling mud weight to prevent too
rapid of inflow. To our knowledge, no other oil shale zones in the U.S. flow naturally while drilling, and this
confirms previous reports and data from the Hanson #1A well (1977) and Whiting’s Moroni #11M well (2015).
The lower Dakota Sandstone also looks prospective in the #11-3 well. This is all positive news.

          By the end of May, 2021, we learned that Elkhorn Exploration had suffered financial setbacks and
that its financing for drilling and completing the Test Wells never materialized. As a result, Elkhorn was
unable to pay for the costs of drilling and operations for these first three Test Wells, with accrued payables to
vendors estimated at approximately $6.6 million. After discussions and negotiations with Elkhorn, Twin
Creek Land Partners, LLC (a subsidiary of Freedom Energy Exploration & Production, Inc.) decided to
pursue the acquisition of Elkhorn. The agreed purchase price for Elkhorn was $120,000. Closing occurred
effective as of June 1, 2021. Elkhorn is a licensed Utah oil & gas operating company with a $120,000 multi-
well bond in place with the Utah Division of Oil, Gas & Mining.

         Between June 1, 2021, and August 31, 2021, Freedom Energy E&P, Inc. expended $813,827.68 on
behalf of Elkhorn for the costs of: (a) drilling out the cement in the casing of the #11-3 well; (b) logging the
well; (c) perforating the Dakota Sandstone and the Tununk Shale zones of the well (approximately 400’ in
the aggregate); and (d) re-assembling and re-equipping the well site for flow testing (tanks, flow lines,
separator, etc.). The Elkhorn-Skyline #11-3 well is ready to be acidized and stimulated for completion and
production testing at an estimated cost (AFE) of $1,750,000 ($1,456,000 for materials, services and
equipment, along with operator overhead, financing fees, legal fees and other costs of $294,000). We
estimate that upon completion this well will produce 200 barrels of oil per day (BOPD). In exchange for the
capital invested, as of August 11, 2021, Freedom Energy was assigned rights by Elkhorn to earn working
interest in the first three Test Wells and in the Subject Lands. Additional working interest will need to be
sold and assigned by Elkhorn in the #11-3 well (and possibly other Test Wells) under the Farmout in order to
finance the costs of the completion operations.

        Between July 2021 and February 2022, seven (7) lawsuits were filed by vendors against Elkhorn,
seeking payment of invoices (totaling approximately $3.0 million) and judgements which would result in
foreclosure of their liens.

        In order to stay all litigation and collection efforts and to potentially create value under the Farmout
with a potential source of revenues for creditors from the #11-3 well, Elkhorn has decided to file for
reorganization as a small business debtor under Subchapter V of Chapter 11 of the U.S. Bankruptcy Code.
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Application Instructions
Complete page 1 and 2 of this Application and Email to phv@txed.uscourts.gov for approval. Once
approved, the clerk will email to you your new Login and    Password so that you will be able to
electronically file your application and pay the $100 fee on    line. If you already have a login and
password, you will still need to wait for approval email    from the clerk before filing your                  Email Application
electronic application.    For Complete Instructions please visit the website
http://www.txed.uscourts.gov/
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                This may be used to answer question 9.
9. Describe in detail on a separate page any charges, arrests or convictions
for criminal offense(s) filedagainst you. Omit minor traffic offenses and
misdemeanor offenses committed prior to age 18.
